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Attorneys for Defendant Traeger Pellet Grills, LLC


                    IN THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF UTAH CENTRAL DIVISION

MICHAEL YATES, individually and on             Case No. 2:19-cv-00723-BSJ
behalf of all others similarly situated; and
NORMAN L. JONES, individually and on           DEFENDANT’S MOTION FOR
behalf of all others similarly situated,       LEAVE TO FILE UNDER SEAL

                          Plaintiffs,          Judge Bruce S. Jenkins

        v.
TRAEGER PELLET GRILLS, LLC, a
Delaware limited liability company,

                          Defendant.




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        Defendant Traeger Pellet Grills, LLC (“Defendant” or “Traeger”), pursuant

to DUCivR 5-3(b)(2)(C)(i), hereby moves this court for leave to file Exhibits C.1;

C.2; D; E; G.1; G.2; G.3; G.4; I.1; I.2; I.3; I.4; J.1; J.2; J.3; J.4; J.5; J.5b; J.6; J.7;

J.8; J.9; J.10; J.11; J.12; J.13; J.14; K.0; K.1; K.2; K.3; K.4; K.5; K.6; K.7; K.8;

K.9; M.1; M.2; N.1; N.2; O.1; O.2; P.1; P.2; T.1; T.2; and U to Plaintiffs’ Motion

for Class Certification, Document No. 149, (“Exhibits”) under seal.

                                          ARGUMENT

        Pursuant to DUCivR 5-3, the records of the court are presumptively open to

the public, but a judge may, upon a showing of good cause, order that documents be

sealed.

        Traeger requests that the Exhibits be sealed to protect information that has

been designated “Confidential” and/or “Attorneys’ Eyes Only” by the parties

pursuant to this Court’s Standard Protective Order. Traeger so designated these

documents due to the presence of highly sensitive and proprietary business and

technical information, which includes Pellet ingredients and formulas, personal

employee information, raw data from internal surveys (which include private

information for several of Traeger’s customers), and pricing and sales data (and

deposition and expert testimony regarding the same). Publication of that information

would harm Traeger’s “competitive standing” by providing its competitors access to

its private formulas, marketing strategies, financial information, and other

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proprietary information. See Ensminger v. Credit L. Ctr, LLC, No. 19-CV-02147-

TC-JPO, 2021 WL 8567979, at *1 (D. Kan. May 14, 2021) (citing Lazzo v. Frontier

Wealth Mgmt., LLC, No. 20-CV-1075-DDC, 2020 WL 1330696, at *2 (D. Kan. Mar.

23, 2020)). The filing has been narrowly tailored to redact or seal only this

information where possible. Accordingly, Traeger respectfully requests that these

Exhibits be permanently and entirely sealed.



 DATED:             June 7, 2022        PARSONS BEHLE & LATIMER

                                        /s/ Julianne P. Blanch
                                        Julianne P. Blanch
                                        Juliette P. White

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                            CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of June, 2022, I electronically filed a true

and correct copy of the foregoing Motion for Leave to File Under Seal with the

Clerk of the Court using the CM/ECF system, which sent notification to all counsel

of record.



                                          /s/ Julianne P. Blanch




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